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 1                                              THE HONORABLE JACK E. TANNER
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 8                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 9                                   AT TACOMA
10                                          )
     UNITED STATES OF AMERICA,              )    NO. CR03-5355JET
11                                          )
                         Plaintiff,         )    FINAL ORDER OF FORFEITURE
12                                          )
                  v.                        )
13                                          )
     GERALD G. CHRISTMAN,                   )
14       a/k/a JERRY CHRISTMAN              )
                                            )
15                       Defendant.         )
                                            )
16

17

18         This matter comes before the Court on motion of the United States for entry of a
19   Final Order of Forfeiture with respect to the real property commonly known as 5727 S.W.
20   Old Clifton Road, Port Orchard, Washington, and more specifically described as follows:
21                THAT PORTION OF THE SOUTHEAST QUARTER OF
                  THE NORTHWEST QUARTER, SECTION 7, TOWNSHIP
22                23 NORTH, RANGE 1 EAST, W.M., IN KITSAP COUNTY,
                  WASHINGTON, DESCRIBED AS FOLLOWS:
23                BEGINNING AT A POINT ON THE NORTH LINE OF S.W.
                  CLIFTON ROAD (PORT ORCHARD-BELFAIR COUNTY
24                ROAD), WHICH IS 360 FEET EAST OF THE EAST LINE
                  OF SUNNYSLOPE COUNTY ROAD AND THE TRUE
25                POINT OF BEGINNING; THENCE CONTINUING EAST
                  ALONG SAID S.W. CLIFTON ROAD (PORT ORCHARD-
26                BELFAIR COUNTY ROAD), 183 FEET; THENCE NORTH
                  58º EAST TO THE EAST LINE OF SAID SUBDIVISION;
27                THENCE NORTH ALONG THE EAST LINE OF SAID
                  SUBDIVISION TO THE NORTHEAST CORNER
28                THEREOF; THENCE WEST ALONG THE NORTH LINE
                  OF SAID SUBDIVISION TO THE NORTHEAST CORNER
     FINAL ORDER OF FORFEITURE - 1                                             UNITED STATES ATTORNEY
                                                                                700 Stewart Street, Suite 5220
     CR03-5355JET                                                              Seattle, Washington 98101-1271
                                                                                        (206) 553-7970
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 1                  OF THE PLAT OF SECOND ADDITION TO VICTORY
                    HEIGHTS, ACCORDING TO PLAT RECORDED IN
 2                  VOLUME 10 OF PLATS, PAGE 17; THENCE SOUTH
                    ALONG THE EAST LINE OF SAID PLAT AND SAID
 3                  EAST LINE CONTINUED TO THE TRUE POINT OF
                    BEGINNING; EXCEPT THAT PORTION CONVEYED IN
 4                  STATUTORY WARRANTY DEED RECORDED
                    FEBRUARY 16, 1965 UNDER AUDITOR’S FILE NO.
 5                  841440; AND EXCEPT THAT PORTION ON THE SOUTH
                    FOR S.W. CLIFTON ROAD.
 6

 7                  PARCEL NUMBER:                072301-2-010-2005
 8
            On February 26, 2004, the Court entered a Preliminary Order of Forfeiture with
 9
     respect to said property. The property was subject to forfeiture pursuant to Title 21,
10
     United States Code, Section 853, because defendant Gerald G. Christman pled guilty to
11
     Manufacturing Marijuana in violation of Title 21, United States Code, Sections 841(a)(1)
12
     and 841(b)(1)(B). Based upon the plea agreement, the pre-sentence investigation and
13
     other files and records herein, the Court finds that defendant Gerald G. Christman had
14
     interest in the said property that is forfeitable under the above cited statutes.
15
            Pursuant to Title 21, United States Code, Section 853(n), the United States
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     published notice in the Daily Journal of Commerce on March 17, March 24, and March
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     31, 2004 and in the Port Chard Independent on March 24, March 31, and April 7, 2004 of
18
     the Preliminary Order of Forfeiture and of the intent of the United States to dispose of the
19
     properties in accordance with law. This notice further stated that any person other than
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     the defendants having or claiming an interest in the property was required to file a petition
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     with the Court within thirty (30) days of the final publication of the notice or personal
22
     receipt of the notice, whichever was earlier, setting forth the nature of the petitioner’s
23
     right, title and interest in the property.
24
            On or about May 26, 2004 Claimant Merna L. West filed a Motion to Pay
25
     Ancillary Third Party, claiming a lien interest in the above described real property. On
26
     September 20, 2004 the United States and Claimant Merna L. West entered into a
27
     Stipulated Settlement Agreement . On September 22, 2004 the Court approved the
28
     Stipulated Settlement Agreement, wherein upon entry of the Final Order of Forfeiture
     FINAL ORDER OF FORFEITURE - 2                                                       UNITED STATES ATTORNEY
                                                                                          700 Stewart Street, Suite 5220
     CR03-5355JET                                                                        Seattle, Washington 98101-1271
                                                                                                  (206) 553-7970
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 1   forfeiting the above-described property to the United States and the sale of the property,
 2   the United States will pay Merna L. West all unpaid principal due, that is $63,741.67; all
 3   unpaid interest in the amount of $20,432.26 (unpaid interest to May 16, 2005) and interest
 4   accruing at $31.43 per day from May 17, 2005; and Attorney fees of $3480.00 and costs
 5   of $515.50.
 6          Based upon the above, the third party petition which was filed herein has been fully
 7   resolved. No other petitioners have come forth to assert an interest in the forfeited
 8   property. Accordingly,
 9          IT IS ORDERED, ADJUDGED and DECREED that the following property seized
10   from Gerald G. Christman is hereby fully and finally condemned and forfeited to the
11   United States in its entirety:
12          The real property commonly known as 5727 S.W. Old Clifton Road, Port Orchard,
13   Washington, and more specifically described as follows:
14                 THAT PORTION OF THE SOUTHEAST QUARTER OF
                   THE NORTHWEST QUARTER, SECTION 7, TOWNSHIP
15                 23 NORTH, RANGE 1 EAST, W.M., IN KITSAP COUNTY,
                   WASHINGTON, DESCRIBED AS FOLLOWS:
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26                 841440; AND EXCEPT THAT PORTION ON THE SOUTH
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27

28                 PARCEL NUMBER:              072301-2-010-2005

     FINAL ORDER OF FORFEITURE - 3                                                 UNITED STATES ATTORNEY
                                                                                    700 Stewart Street, Suite 5220
     CR03-5355JET                                                                  Seattle, Washington 98101-1271
                                                                                            (206) 553-7970
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 1          The United States Marshals Service is authorized to dispose of the above listed
 2   property in accordance with the law.
 3          The Clerk of the Court is hereby directed to send a copy of this Final Order of
 4   Forfeiture to all counsel of record and send three (3) “raised sealed” certified copies to the
 5   United States Marshals Service in Seattle, Washington.
 6          DATED this 31st day of May, 2005.
 7

 8                                              /s JACK E. TANNER
                                                _______________________________
 9                                              UNITED STATES DISTRICT JUDGE
10
     Presented by:
11

12
       /s/ Richard E. Cohen
13   RICHARD E. COHEN
     Assistant United States Attorney
14   700 Stewart Street, Suite 5220
     Seattle, Washington 98101-1271
15   206/ 553-2242; fax 206/ 553-6934
     Richard.E.Cohen@usdoj.gov
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     FINAL ORDER OF FORFEITURE - 4                                                  UNITED STATES ATTORNEY
                                                                                     700 Stewart Street, Suite 5220
     CR03-5355JET                                                                   Seattle, Washington 98101-1271
                                                                                             (206) 553-7970
